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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION


 STATE OF TEXAS, et al.,

           Plaintiffs,

      v.                                                Civil Action No. 6:23-cv-00013

 BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS AND EXPLOSIVES, et al.,

           Defendants.


                                               ORDER

        Pending before the Court is Defendants’ Consent Motion for Extension of Time to Respond

to Complaint. After reviewing the Motion, the record, and the applicable law, the Court is of the

opinion that it should be GRANTED. Defendants’ deadline to respond to Plaintiffs’ complaint is

extended until two weeks after either (i) any stay is lifted, or (ii) the Court denies Defendants’ motion

to stay proceedings, ECF No. 58.

        It is SO ORDERED.

        Signed this ___ of ________________, 2023.


                                                   __________________________________
                                                            DREW B. TIPTON
                                                   UNITED STATES DISTRICT JUDGE
